Case 1:19-cr-00018-ABJ Document 31-3 Filed 02/13/19 Page 1 of 2

Additional Metadata...

Case 1:19-cr-00018-ABJ pbtainda gpg Filed 02/13/19 Page 2 of 2
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Description Advanced ww

v XMP Core Properties (xmp, http://ns.adobe.com/xap/1.0/)
xmp:ModifyDate: 2019-01-23T23:04:45-05:00
xmp:CreateDate: 2019-01-231T23:04:35-05:00
xmp:MetadataDate: 2019-01-23T23:04:45-05:00
xmp:CreatorTool: Acrobat PDFMaker 19 for Word
v XMP Media Management Properties (xmpMM, http://ns.adobe.com/xap/1.0/mr
xmpMM:DocumentiD: uuid:9413a568-c6ad-4044-a803-c1955 1bf7 2b!
xmpMM:InstancelD: uuid:c9b21756-e14d-420b-aea7-bca4f2b40b3b
>» xmpMM:subject (seq container)
Y Dublin Core Properties (dc, http://purl.org/dc/elements/1.1/)
dc:format: application/pdf
» dc:creator (seq container)
Y PDF Properties (pdf, http://ns.adobe.com/pdf/1.3/)
pdf:Producer: Adobe PDF Library 19.8.103
VY http://ns.adobe.com/pdfx/1.3/
pdfx:SourceModified: D:20190124040419
pdfx:Company: JCON
pdfx:Comments

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Cancel SS

